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EXHlBlT B

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UN|TED STATES BANKRUPTCY COURT
EASTERN DlSTRlCT OF NEW YORK
X

 

ln re:

KAE-PUN Yl a/k/a
KAEPUN Yl a/k/a KATHY Yl, Chapter 7
Case No. 14-75101 (REG)
Debtor.

 

X
ORDER AUTHORIZ|NG THE TRUSTEE,
UNDER THE SUPERV|S|ON AND W|TH THE
ASS|STANCE OF THE UN|TED STATES MARSHAL, TO TAKE
ALL NECESSARYSTEPS TO TAKE POSSESS|GN OF THE COOPERAT|VE
APARTMENT LOCATED 2449 UNlON BOULEVARD, APT. 29A, lSLlP, NEW YORK

Upon the order of the Court, entered on , 2017 granting the motion (the “Motion”)
of Kenneth P. Silverman, Esq. (the “Trustee”), the Chapter 7 trustee of the estate of Kae-Pun Yi
a/k/a Kaepun Yi a/k/a Kathy Yi (the “Debtor"), by and through his counsel, SilvermanAcampora LLP,
seeking the entry of an order authorizing the Trustee, under the supervision and With the assistance
of the United States l\/larsha|, to take all necessary steps to take possession of the cooperative
apartment known as, and located at, 2449 Union Boulevard, Apt. 29A, lslip, New York (the
“Property"); and granting such other relief as this Court deemsjust and proper; and upon the order
ofthe Court, entered on , 2017, authorizing the Trustee to sell the Property vacant, and
the enforcement of that order not having been stayed; and upon an Affidavit of Non-Compliance1
having been served on the Debtor and the Office of the United States Trustee and filed With the
Court; and upon the Affidavit of Service of the Affidavit of Non-Compliance; and the Court having
found that the entry of this order is fair and reasonable and in the best interest of the estate and its
creditors; and sufficient cause having been shown therefore; and no additional notice being

necessary or required; and after due deliberation by this Court;

lT APPEAR|NG, that the Debtor is in non-compliance With the terms ofthe Turnover Order;

 

1 A|| capitalized terms not othen/vise defined herein shall have the same definitions as respectively assigned in the

Turnover Order.

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lT FURTHER APPEAR|NG, that the Debtor remains in possession and control of the
Property past the Turnover Dead|ine;

lT FURTHER APPEAR|NG, that the Debtor continues to use and occupy the Property past
the Turnover Dead|ine;

lT FURTHER APPEAR|NG, that a copy ofthe Affidavit of Non-Compliance and this order in
proposed form having been provided to the Debtor and the Office of the United States Trustee;

lT FURTHER APPEAR|NG, that no other or further notices need be given;

lT FURTHER APPEAR|NG, that service of the Affidavit of Non-Comp|iance and notice
thereof constitutes good and sufficient notice as evidenced by the Affidavit of Service, dated

, 2017 and filed with the Court;

AND AFTER due deliberation having been had, and good and sufficient cause having been

shown;

lT is HEREBY FouND THATZ,
1. The Sale Order is not stayed.

2. The Trustee properly served the Affidavit of Non-Compliance and this order in
proposed form in accordance with the Turnover Order.

3. The Debtor did not turn over the Property and keys to the Trustee on or prior to the
Turnover Dead|ine, and remains in possession, control, use and occupancy of the Property.

NOW, THEREFORE, lT lS HEREBY ORDERED, ADJUDGED AND DECREED that:

1. As of , 2017, the U.S. l\/larshal is authorized to take all necessary
steps, using whatever force necessary, including breaking open, entering and searching for the
Debtor’s personal property, located at, 2449 Union Boulevard, Apt. 29A, lslip, New York to secure
and remove the Debtor and her personal property from said premises. Kenneth P. Silverman, Esq.,
in his capacity as the chapter 7 trustee, is responsible for the transport to the appropriate/designated

storage facility to place said property, unless otherwise abandoned by the Trustee.

 

2 Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as finding of fact
when appropriate See Rule 7052 ofthe Federal Rules of Bankruptcy Procedure.

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4. The Debtor’s Chapter 7 estate, on whose behalf the Court issues this Order, will act
as substitute custodian (through the Chapter 7 Trustee, solely in that capacity) of any and all items
seized pursuant to the Order and the Debtor’s Chapter 7 estate shall hold harmless the U.S.
l\/larshals Service and its employees from any and all claims, asserted in any Court or tribunal,
arising from any acts, incidents, or occurrences in connection with the seizure and possession of the
Debtor’s property, including any third-party claims.

5. Anyone interfering with the execution of this Order is subject to arrest by the U.S.
l\/larsha|s Service.

6. Kenneth P. Silverman, Esq., solely in his capacity as the chapter 7 trustee, will
account completely for all personal property seized and/or found at the Property and shall compile a
written inventory of all such property and shall provide a copy to the U.S. l\/larshal, who shall include
such a copy with his return to the Court.

7. Kenneth P. Silverman, Esq., solely in his capacity as the chapter 7 trustee, be, and
hereby is, authorized and directed to take such steps, execute such documents and expend such

funds as may be necessary to effectuate and implement the terms and conditions of this Order.

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